Case 2:15-cv-00799-KJM-DB Document 73-1

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
SACRAMENTO DIVISION

UNITED STATES OF AMERICA, ex rel.
DENIKA TERRY and ROY HUSKEY III,
and each of them for themselves individually,
and for all other persons similarly situated and
on behalf of the UNITED STATES OF
AMERICA,

Plaintiffs/Relators,
Vs.

WASATCH ADVANTAGE GROUP, LLC,
WASATCH PROPERTY MANAGEMENT,
INC., WASATCH POOL HOLDINGS,
LLC, CHESAPEAKE COMMONS
HOLDINGS, LLC, LOGAN PARK
APARTMENTS, LLC, LOGAN PARK
APARTMENTS, LP, and DOES 1-30,

Defendants.

US. ex rel. Terry v. Wasatch Advantage Group
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Case No. 2:15 CV 0799 KJIM DB

DECLARATION OF DAVID LAVINE IN
SUPPORT OF APPLICATION TO RE-
SET CLASS CERTIFICATION HEARING
DATE

CLASS ACTION.

Date/Time: No hearing set absent Court
order, per Standing Order

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DECLARATION OF DAVID LAVINE
1. I am attorney of record for plaintiffs in the above-referenced matter. I have
personal knowledge of the facts set forth in this declaration, and, if called upon, could and would
testify thereto.

2. The date of the hearing on plaintiffs’ motion for class certification as currently
set is September 22, 2017. The observance of Rosh Hashana,-or the Jewish New Year religious
holiday, falls on the same day. I am trying to avoid a conflict for that date.

3. On August 21, 2017, I asked opposing counsel to agree to a hearing date change.
Opposing counsel agreed to a one-week extension, but indicated that he did not want to re-set the
briefing schedule and wanted the hearing set for the following week. I received available dates
from the Courtroom Clerk of October 6 and October 20, 2017.

4, On August 23, 2017, I prepared and submitted to opposing counsel a stipulation
to re-set the hearing date to October 20, 2017, as attached at Exhibit A, noting defendants’
position that they did not want the briefing schedule re-set. Opposing counsel refused to sign it.
Further correspondence did not change opposing counsel’s position. I have never before to my
memory had to seek ex parte permission over opposing counsel’s objection to clear a conflict

with a religious observance.

I declare under penalty of perjury this 5th day of September, 2017 that the foregoing is
true and correct to the best of my knowledge.

[s/f
David Lavine

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